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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 MONISHA DALCOE,

               Plaintiff,

 v.                                        CAFN: 19-CV-00549-AT

 NEW PRIME, INC.

               Defendant.


  PLAINTIFF AND DEFENDANT’S JOINT DISCOVERY STATEMENT

       COME NOW, Defendant New Prime, Inc., and Plaintiff Monisha Dalcoe,

and pursuant to section (e) of this Honorable Court’s Standing Order, hereby file

the following Joint Discovery Statement.

      I. EVIDENTIARY DEPOSITION OF DR. SHAHRAM REZAIAMIRI

       A.      This litigation arises from a motor vehicle collision which occurred

July 14, 2017 between Plaintiff and William Stanford, who was driving on behalf

of Defendant New Prime, Inc. [Doc. 1, Exhibit “A,” ¶ ¶ 6 – 9]. Plaintiff filed her

Complaint December 28, 2018 and on January 21, 2019, before Defendant filed its

Answer and before discovery commenced, counsel for Plaintiff inquired about

setting up “medical depositions” for Plaintiff’s treating physicians. [Email from

office of Plaintiff’s counsel, attached as Exhibit “A”]. At the early planning
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conference on February 13, 2019, counsel for both parties discussed that the

“medical deposition” about which Plaintiff inquired would be an evidentiary

deposition for use at trial and that it made sense to wait until discovery had

completed before evidentiary depositions took place. However, Plaintiff’s counsel

inquired again in April 2019 about setting up an evidentiary deposition of

Plaintiff’s hand surgeon because his “memory was fresh” from a recent surgery,

and Defendant agreed so long as its cross-examination could be completed once

discovery was complete. [Email from office of Plaintiff’s counsel, attached as

Exhibit “B”]. The direct examination for the evidentiary deposition of Plaintiff’s

surgeon, Dr. Ugonwali was completed on July 8, 2019.

      After counsel for the parties recently exchanged emails about an additional

evidentiary deposition of Plaintiff’s physician, and undersigned counsel indicated

opposition to further evidentiary depositions before discovery was completed,

Plaintiff filed a Notice of Deposition for the physician for December 5, 2019.

[Email Thread, attached as Exhibit “C;” Doc. 21]. By agreement of the parties,

Plaintiff is scheduled to be deposed on December 11, 2019 and the parties are still

awaiting dates for at least one other discovery deposition to be completed. [Doc.

20]. Plaintiff has also indicated an intention to conduct at least two additional

evidentiary depositions of Plaintiff’s physicians before discovery expires on
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January 3, 2020. [September 3, 2019 Docket Entry; Email from Plaintiff’s Counsel

attached as Exhibit “D”].

      Defendant contends evidentiary depositions of Plaintiff’s physicians being

conducted to the completion of discovery will cause Defendant to be

disadvantaged in its defense of this case. Plaintiff seeks to hold an evidentiary

deposition of Plaintiff’s physicians before Plaintiff’s deposition has even taken

place and before Defendant has obtained all her medical records – Defendant

cannot possibly conduct an informed cross-examination under these circumstances.

And while, in the spirit of cooperation, Defendant agreed to Plaintiff’s counsel

conducting a direct examination of Dr. Ugonwali, conducting further evidentiary

depositions in two parts causes the parties to incur double the expense and is a

waste of resources. Therefore, Defendant respectfully requests the Court enter an

order quashing Plaintiff’s Notice of Deposition for December 5, 2019.

      Defendant has requested Plaintiff complete her portion of the Joint

Discovery Statement, but Plaintiff has advised she has not had an opportunity to

complete it since Defendant first requested it on November 21, 2019. [Email

Thread attached as Exhibit “E”]. Given the upcoming holiday and the deposition

being noticed for December 5, 2019, Defendant has filed this Discovery Statement

and requested Plaintiff provide her portion when she has an opportunity. Id.
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B. [Plaintiff’s position here].

This 25th day of November, 2019.

                           Respectfully submitted,
                           SWIFT, CURRIE, McGHEE & HIERS, LLP

                            /s/ Elizabeth L. Bentley
                       By: _____________________________
                           RICHARD C. FOSTER, ESQ.
                           State Bar No.: 271057
                           ELIZABETH L. BENTLEY, ESQ.
                           State Bar No.: 828730
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              FOR THE NORTHERN DISTRICT OF GEORGIA
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 MONISHA DALCOE,

             Plaintiff,

 v.                                        CAFN: 19-CV-00549

 NEW PRIME, INC.

             Defendant.


                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the within and
foregoing Joint Discovery Statement upon all parties to this matter by filing same
with the Clerk of Court using the CM/ECF (Pacer) system which will send an
electronic copy to counsel of record as follows:
                          Chauncey Napoleon Barnwell, Esq.
                            BROWN BARNWELL, P.C.
                           30 Perimeter Park Dr., Suite 205
                               Atlanta, Georgia 30341

This 25th day of November, 2019.

                                      /s/ Elizabeth L. Bentley
                                  By: _____________________________
                                      ELIZABETH L. BENTLEY, ESQ.
                                      State Bar No.: 828730
                                      Swift, Currie, McGhee & Hiers, LLP
